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             EXHIBIT C
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From: "Bastress Tahmasebi, Jennifer" <JBastressTahmasebi@americorps.gov>
Date: April 17, 2025 at 8:08:30 AM EDT

Subject: Update
A team from DOGE arrived last Tuesday. Since they arrived; myself, the acting Chief Operating Officer (Jill
Graham), the acting General Counsel (Jana Maser), the acting Deputy General Counsel (Liz Appel) have worked
with them around Administration goals to cut staff, contracts, contractors, and agency deliverables. We have
been supported behind the scenes by our acting Chief of Staff (Charndrea Leonard.) The DOGE team
requested and we have granted access to all our systems including email.

We have engaged in conversations with the DOGE team on what the staffing structure should look like
consistent with Administration goals. Yesterday, I put 85% of its staff on administrative leave. Our core staff is
now 106 staff + the 9 staff in the Office of General Counsel.

The DOGE team has reviewed the agency's contracts and had some significant concerns. Primary among the
concerns was a contract for a consultant that was paid $700,000 over three years to support the agency
getting to a clean audit. He then encouraged prior agency leadership to hire his former firm and the agency
has spent millions and millions of dollars with EY. The agency has made little progress on the agency's financial
audit and yet spent significant resources. Instead of addressing the lack of competence within the existing
financial staff, the prior agency leadership elected to hire consultants to do core agency financial work.

With two and a half months in this seat that has primarily focused on responding to Presidential directives, I
had not yet had time to review the agency's contracts. In looking at the list provided to the DOGE team, I
made the decision to cut the contracts that I felt were duplicative of work staff should have been doing. In
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addition to those cuts, the DOGE team has worked with us to terminate other contracts. The agency has very
few contracts remaining and will be winding down some at a fast rate as we transfer the work to the
remaining staff. The agency is currently positioned to keep the contracts that are legally required such as the
childcare and health care contracts for AmeriCorps members.

The agency also had a lot of contractors that worked alongside the agency staff. They were primarily in the
departments of information technology, human capital, and financial services. Yesterday, almost all of those
contractors were removed. A select group of contractors remain. We will be winding down their work at a
fast rate as we transfer the work to the remaining staff.

The DOGE team continues to work with us and the work needed to get the agency aligned with the
Administration is not yet complete. I will update as I am able on further progress.

Below is the statement we will be providing to Congressional appropriators that have requested information
about taking NCCC members out of service. All communications with the Hill have to be cleared by OMB.

AmeriCorps initiated a deferred resignation plan (DRP) to reduce the size of the agency’s workforce. Many
agency staff elected to take the DRP, including a significant number of National Civilian Community Corps
(NCCC) staff who directly support the health, safety, and productivity of AmeriCorps NCCC members, and
will stop working this month. This shift in the staff footprint, combined with additional efforts to downsize the
agency through reductions in force require time for planning and implementing changes to program
administration to ensure AmeriCorps member safety.

As a result, on Tuesday, AmeriCorps made the decision to place more than 750 AmeriCorps NCCC members
on administrative leave through April 30,2025, at which point their terms will conclude. This decision was not
made lightly or without understanding the impact it would have for the AmeriCorps members, their families,
the communities being served, communities yet to be served, and the NCCC staff. While the deployment
back to campuses and then member’s home of record is happening rapidly, it is being handled with a
commitment to excellence by the NCCC staff and will allow safe transport for AmeriCorps members. All
members that have served at least 15% of their required service hours will earn a pro-rated Segal
AmeriCorps Education Award.

We thank these NCCC AmeriCorps members for their service and understand their disappointment and
frustration that they were not able to finish their anticipated terms.

While AmeriCorps undergoes restructuring in accordance with the Executive Order on Government Efficiency,
AmeriCorps member safety and productivity remains the agency’s top priority.




Thank you,
Jennifer

Jennifer Bastress Tahmasebi
Interim Agency Head
AmeriCorps
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